AO 104 (02/09) Tracking Warrant
                                                                                                                             Feb 16, 2024
                                     UNITED STATES DISTRICT COURT                                                          s/ Mariah Kauder
                                                                    for the
                                                       Eastern District of Wisconsin
                                                                  District of

            In the Matter of the Tracking of                         )
   (Identify the person, property, or object to be tracked )         )
                                                                     )         Case No. 24-M-339 (SCD)
a black 2021 Chevrolet Tahoe bearing Texas license
   plate TNH2156, VIN: 1GNSCNKD6MR249473                             )         Matter No.: 2023R00468
                                                                     )
                                                                     )

                                                     TRACKING WARRANT
To:       Any authorized law enforcement officer

          An application by a federal law enforcement officer or an attorney for the government shows there is reason to
believe that the person, property, or object described above has been involved in and likely will continue to be involved
in the criminal activity identified in the application, and ✔ is located in this district;         is not now located in this
district, but will be at execution;     the activity in this district relates to domestic or international terrorism;    other:
                                                                                                                                           .
        I find that the affidavit(s), and any recorded testimony, establish probable cause to believe that
 (check the appropriate box)          using the object     ✔ installing and using a tracking device
to monitor the location of the person, property, or object will satisfy the purpose set out in Fed. R. Crim. P. 41(c) for
issuing a warrant.
        I find entry into the following vehicle or onto the following private property to be necessary without approval or
knowledge of the owner, custodian, or user of the vehicle or property for installing, maintaining, and removing the
tracking device: vehicle: a black 2021 Chevrolet Tahoe bearing Texas license plate TNH2156,
                    VIN: 1GNSCNKD6MR249473; and private property: 8720 N. Deerwood Dr., Brown Deer, Wisconsin
                    53209.

        YOU ARE COMMANDED to execute this warrant and begin using the object or installing the tracking device
within ten days from the date of this order and may continue use for 45 days. The tracking may occur within this district
or another district. To install, maintain, or remove the device, you may enter (check boxes as appropriate)
   into the vehicle described above          ✔ onto the private property described above
   in the daytime only (i.e., 6:00 a.m. to 10:00 p.m.). ✔ at any time of day or night because good cause has been established.
       Within 10 calendar days after the use of the tracking device has ended, the officer executing this warrant must
both return it to United States Magistrate Judge (name) Stephen C. Dries                  and — unless delayed notice
is authorized below — serve a copy of the warrant on the person who, or whose property or object, was tracked.
      ✔ I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property or object, will be
tracked (check the appropriate box)           for       days (not to exceed 30)
                                                    ✔ until, the facts justifying, the later specific date of          07/19/2024      .


Date and time issued:        2-16-24. 9:10 am
                                                                                                Judge’s signature

City and state:                Milwaukee, Wisconsin                             Hon. Stephen C. Dries, U.S. Magistrate Judge
                                                                                              Printed name and title


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Case No.


                                           Return of Tracking Warrant With Installation

1. Date and time tracking device installed:

2. Dates and times tracking device maintained:

3. Date and time tracking device removed:

4. The tracking device was used from (date and time):

     to (date and time):                                                                                       .



Return of Tracking Warrant Without Installation

1. Date warrant executed:

2. The tracking information was obtained from (date and time):

    to (date and time):                                                                                        .



Certification

I declare under the penalty of perjury that this return is correct and was returned along with the original warrant to the
designated judge.




Date:
                                                                  Executing officer’s signature




                                                                  Printed name and title



Subscribed, sworn to, and returned before me this date:


                                                                              Date:______________________




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AO 102 (01/09) Application for a Tracking Warrant                                                                                Feb 16, 2024


                                       UNITED STATES DISTRICT COURT                                                            s/ Mariah Kauder

                                                                  for the
                                                       Eastern District
                                                    __________  DistrictofofWisconsin
                                                                             __________

              In the Matter of the Tracking of                      )
          (Identify the person to be tracked or describe            )
          the object or property to be used for tracking)           )
a black 2021 Chevrolet Tahoe bearing Texas license                  )      Case No. 24-M-339 (SCD)
   plate TNH2156, VIN: 1GNSCNKD6MR249473                            )
                                                                    )      Matter No.: 2023R00468

                                           APPLICATION FOR A TRACKING WARRANT

        I, a federal law enforcement officer or attorney for the government, have reason to believe that the person,
property, or object described above has been and likely will continue to be involved in one or more violations of
 21 U.S.C. § 846/841(a)(1) . Therefore, in furtherance of a criminal investigation, I request authority to install and
use a tracking device or use the tracking capabilities of the property or object described above to determine location. The
application is based on the facts set forth on the attached sheet.
         ✔ The person, property, or object is located in this
         u                                                           u The activity in this district relates to domestic or
            district.                                                   international terrorism.
         u The person, property, or object is not now located        u Other:
            in this district, but will be at the time of execution.

The tracking will likely reveal these bases for the warrant under Fed. R. Crim. P. 41(c): (check one or more)
          ✔
          u evidence of a crime;                                          u contraband, fruits of crime, or other items illegally
                                                                            possessed;
          ✔
          u property designed for use, intended for use, or used          u a person to be arrested or a person who is
              in committing a crime;                                        unlawfully restrained.

✔ I further request, for purposes of installing, maintaining or removing the tracking device, authority to enter the
u
  following vehicle or private property, or both:
    vehicle: a black 2021 Chevrolet Tahoe bearing Texas license plate TNH2156, VIN: 1GNSCNKD6MR249473; and
    private property: 8720 N. Deerwood Dr., Brown Deer, Wisconsin 53209.

✔ Delayed notice of
u                                 days (give exact ending date if more than 30 days:        07/19/2024        ) is requested under
   18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                          Digitally signed by JEFFREY
                                                                        JEFFREY MILAM MILAM
                                                                                      Date: 2024.02.15 09:59:08 -06'00'
                                                                                                Applicant’s signature
                                                                                            SA Jeffrey Milam, DEA
                                                                                          Applicant’s printed name and title

                   Telephonically.
Sworn to before me and signed in my presence.

Date:       2-16-24
                                                                                                  Judge’s signature

City and state: Milwaukee, Wisconsin                                           Hon. Stephen C. Dries, U.S. Magistrate Judge
                                                                                               Printed name and title


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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT
                                     Matter No.: 2023R00468

            I, Jeffrey Milam, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. § 3117 to authorize the installation and monitoring

of a tracking device on a black 2021 Chevrolet Tahoe bearing Texas license plate TNH2156,

vehicle identification number (VIN) 1GNSCNKD6MR249473 (herein referred to as “the Tahoe”).

Based on the facts set forth in this affidavit, I believe that the Tahoe is presently being used in

furtherance of violations of 21 U.S.C. §§ 841 and 846, and that there is probable cause to believe

that the installation of a tracking device on the Tahoe and use of the tracking device will lead to

evidence, fruits, and instrumentalities of the aforementioned crimes as well as to the identification

of individuals who are engaged in the commission of those and related crimes.

       2.       I am a Special Agent with the Drug Enforcement Administration (DEA) and have

been since September 2014. Before that, I was employed as a police officer with the St. Louis

County Police Department in St. Louis, Missouri, where I spent the last three years as a Task Force

Officer with the DEA. During my tenure as a Special Agent, I have been involved primarily in the

investigation of large-scale drug traffickers operating not only in the City of Milwaukee and the

State of Wisconsin, but also throughout the entire United States based upon the direction of

investigations that arise through the Milwaukee District Office of the Drug Enforcement

Administration.

       3.       As a federal law enforcement officer, I have participated in the investigation of

narcotics-related offenses, resulting in the prosecution and conviction of numerous individuals and


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the seizure of illegal drugs, weapons, stolen property, millions of dollars in United States currency,

and other evidence of criminal activity. As a narcotics investigator, I have interviewed many

individuals involved in drug trafficking and have obtained information from them regarding the

acquisition, sale, importation, manufacture, and distribution of controlled substances. Through my

training and experience, I am familiar with the actions, habits, traits, methods, and terminology

used by the traffickers and abusers of controlled substances. I have participated in all aspects of

drug investigations, including physical surveillance, execution of search warrants, undercover

transactions, court-ordered wiretaps, analysis of phone and financial records, and arrests of

numerous drug traffickers. I have been the affiant on many search warrants. I have also spoken on

numerous occasions with other experienced narcotics investigators, both foreign and domestic,

concerning the methods and practices of drug traffickers and money launderers. Furthermore, I

have attended training courses, which specialized in the investigation of drug trafficking and

money laundering. Through these investigations, my training and experience, and conversations

with other law enforcement personnel, I have become familiar with the methods used by drug

traffickers to manufacture, smuggle, safeguard, and distribute narcotics, and to collect and launder

trafficking-derived proceeds. I am further aware of the methods employed by major narcotics

organizations to thwart any investigation of their illegal activities.

       4.      Based upon my training and experience, as well as information relayed to me during

the course of my official duties, I know that a significant percentage of controlled substances,

specifically marijuana, cocaine, heroin, and methamphetamine, imported into the United States

comes from Mexico and enters the domestic market at various points along the southwest border

of the United States, because Mexican cartels control the transportation, sale, and importation of

cocaine, marijuana, heroin, and methamphetamine into the United States.



                                                   2

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       5.      Based on my training, experience, and conversations with other law enforcement

officers, I know that distributors of marijuana, methamphetamine, cocaine, heroin, as well as other

controlled substances, often use cellular and landline telephones. Additionally, I know that drug

traffickers often change their phone numbers and cellular devices on a frequent basis to thwart law

enforcement from tracking their phones and to conceal their identities. I know that these

individuals often use code words to discuss controlled substances and methods of concealing

controlled substances while talking on the telephone. I know that drug traffickers often conduct

extensive counter-surveillance to avoid law enforcement detection.

       6.      Based upon training and experience, I know that narcotics-trafficking and money-

laundering organizations routinely use several operational techniques to sustain their illegal

enterprises. These practices are designed and implemented to achieve two paramount goals:

(1) the successful facilitation of the organization’s illegal activities, including the importation and

distribution of controlled substances, and the subsequent repatriation of the proceeds of that illegal

activity; and (2) the minimization of the exposure of coconspirators, particularly those operating

in leadership roles, to investigation and prosecution by law enforcement.


       7.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. Throughout this affidavit,

reference will be made to case agents. Case agents are those federal, state, and local law

enforcement officers who have directly participated in this investigation, and with whom your

affiant has had regular contact regarding this investigation. This affidavit is intended to show

merely that there is probable cause for the requested warrant and does not set forth all my

knowledge about this matter.




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         8.       Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of 21 U.S.C. §§ 841 and 846 have been committed, are being committed, or will be

committed by George WOODS (DOB: 01/23/1975), Darius JARRETT (DOB: 01/29/1972),

Kenneth BEVERLY (DOB: 05/23/1976), Carlos GARZA (DOB: 11/12/1964), Dante

MCDONALD (DOB: 07/09/1979), Corey HUDSON (DOB: 01/08/1977), Decerdric DAVIDSON

(DOB: 12/02/1981), and other unknown persons, collectively identified as the WOODS Drug

Trafficking Organization (DTO).

                                              PROBABLE CAUSE

         9.       The United States, including the Drug Enforcement Administration, is conducting

a criminal investigation into George WOODS, Darius JARRETT, Kenneth BEVERLY, Carlos

GARZA, Dante MCDONALD, Corey HUDSON, Decerdric DAVIDSON, and other unidentified

subjects for possible violations of 21 U.S.C. §§ 846, 841(a)(1), and 843(b).

         10.      In late 2023, case agents debriefed a confidential source (hereinafter referred to as

the CS), 1 who provided information on a large-scale drug distributor named George WOODS. The

CS stated he/she was recently introduced to WOODS through an acquaintance in Milwaukee,

Wisconsin. The CS stated WOODS distributes large quantities of cocaine, heroin, and marijuana

throughout the midwest United States. The CS stated WOODS indicated that WOODS makes bi-

monthly trips to Texas, where WOODS meets with an as-yet unknown source of supply near the




1 For several reasons, case agents believe the CS’s information is reliable and credible. Substantial parts of the CS’s
information have been independently corroborated and verified by law enforcement. The CS has made direct
observations, which were further corroborated and verified by law enforcement. The CS’s information has been
consistent with information obtained from travel records, telephone toll records, social media records, public
databases, and surveillance. The CS has also provided information on violent crimes unrelated to this investigation,
leading to the arrests of multiple suspects. The CS has prior convictions for theft, possession of controlled substances,
possession of a firearm by a felon, manufacture or deliver controlled substances, and parole violations. The CS is
cooperating for financial compensation.




                                                           3

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U.S./Mexico border to obtain upwards of two hundred (200) kilograms of cocaine and/or heroin,

and one-thousand (1,000) to two-thousand (2,000) pounds of marijuana. WOODS utilizes an as-

yet unknown method to transport narcotics from the southern Texas border to various locations

throughout the United States, including Milwaukee, Wisconsin; Chicago, Illinois; and Arizona.

The CS stated WOODS owns/operates a trucking company, owns multiple properties, and multiple

luxury vehicles, all of which are believed to be obtained through drug proceeds. The CS stated

WOODS frequented a multi-unit apartment building in Milwaukee, later identified as 915 N. 24th

Street, Milwaukee, Wisconsin. The CS stated a black male known only as “BUNK,” oversees the

day-to-day operations/distribution of narcotics at 915 N. 24th Street. The CS added that WOODS

utilizes multiple apartments within this building to store and distribute narcotics.

       11.     WOODS indicated to the CS that WOODS’s Texas-based source of supply (SOS)

can obtain large quantities of narcotics for WOODS. WOODS further indicated that WOODS flies

to Texas via commercial carrier before driving to the U.S./Mexico border to facilitate the drug

transactions with the SOS. WOODS identified the SOS as “CORTO,” and the CS believes, based

on WOODS’s description, that “CORTO” is an Hispanic male. The CS indicated that WOODS’s

telephone number was (414) 406-2832. The CS was later shown a Wisconsin Department of

Transportation (DOT) photograph of WOODS (without identifiers), who the CS positively

identified as WOODS.

       12.     In late November 2023, the CS stated that he/she was present at 915 N. 24th Street,

Milwaukee, Wisconsin, when WOODS brought approximately twenty (20) kilograms of suspected

cocaine and/or heroin into the building. The CS stated WOODS arrived in a black Cadillac

Escalade, from which WOODS removed three duffle bags containing the approximately twenty

kilograms. WOODS placed the duffle bags and their contents into a first-floor apartment which

was occupied by other unknown subjects. The CS saw the approximately twenty brick-sized

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objects and observed a vintage photograph of a male wearing a large hat and two Bandoliers draped

across his chest, attached to the outside of one of the kilogram wrappings. The CS further

confirmed that there is a main entrance door on the south-side of 915 N. 24th Street. The CS has

utilized this entrance on previous occasions.

       13.     On November 29, 2023, case agents conducted surveillance of 915 N. 24th Street.

At this time case agents observed a black Chevrolet Suburban parked directly in front of the

residence. The Chevrolet displayed a Texas temporary registration of 4267H51. Through a law

enforcement database, the registration listed to a Kenneth D BEVERLY, 914 Blewit Dr., Cedar

Hill, Texas on a 2017 Chevrolet Suburban. The vehicle was purchased from Gerald’s Auto Sales

Inc., 208 NW 28th Street, Fort Worth, Texas. Case agents also observed a blue Dodge Durango

with Ohio registration JDE9086, and registered to a Darius JARRETT, 101 Towne Commons Way

Apt. 11, Cincinnati, Ohio, on a 2006 Dodge Durango. The Dodge Durango was parked directly

across the street from 915 N. 24th Street.

       14.     At approximately 11:57 a.m., case agents observed a black male, with a black and

grey beard, walk from the south-side of 915 N. 24th Street toward the Dodge Durango. The black

male opened the driver door to the Dodge, and leaned inside momentarily before entering and

departing in a maroon Buick Park Avenue that was parked in front of the Dodge. Case agents later

obtained a Wisconsin DOT photograph of Darius JARRETT, who strongly resembled the black

male seen accessing the Dodge, before departing in the Buick.

       15.     While remaining in the area, at approximately 12:26 p.m., case agents observed a

black male arrive in a black Ford van with no registration. The black male, wearing a black hoodie

and black facemask, walked to the south side of 915 N. 24th Street, between 915 N. 24th Street and

911 N. 24th Street. Case agents observed a second subject who remained sitting in the front

passenger seat of the Ford van. At approximately 12:35 p.m., the black male in the black hoodie

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walked from the south-side of 915 N. 24th Street toward the Ford van. At this time, case agents

observed the black male appeared to be carrying a white object in his left hand before re-entering

the driver seat of the Ford van. Case agents attempted to follow the Ford van, but terminated

surveillance after losing sight of the vehicle. Case agents believe the black male, who was driving

the Ford van, had gone to 915 N. 24th Street to conduct a drug/money transaction based on the

black male having emerged from this known drug-distribution location with an object after only a

brief stay at the location and then promptly departing the area.

       16.     Case agents returned to 915 N. 24th Street, and at approximately 3:15 p.m., a black

male, wearing a grey hoodie and black jacket walked from the front yard of 915 N. 24th Street, and

entered the driver seat of the black Chevrolet Suburban. At the same time, a second male subject

(believed to be JARRETT), walked from the front yard of 915 N. 24th Street, and re-entered the

Buick. Both vehicles departed the residence. After briefly following the Chevrolet Suburban, case

agents observed the driver park in the area of W. North Ave. and W. Sherman Blvd. The driver,

who was a light-skinned black male with a black beard and medium build, exited the Chevrolet

Suburban and stood on an adjacent sidewalk.

       17.     Case agents conducted telephone toll analysis of WOODS’s cellphone and

identified frequently called numbers. Through a law enforcement database, the top two telephone

numbers -- (414) 416-3339 and (414) 915-3092 -- list to a Shanequa Collins. Case agents queried

social media (Facebook) inputting the name “Shanequa Collins,” and identified a profile with the

name “Nene Bre’Arie.” In the public photos section of this profile, case agents identified numerous

recent photographs of a black female posing with a black male, who case agents positively

identified as WOODS. Case agents believe Collins is WOODS’s girlfriend.

       18.     The third most frequent contact of WOODS’s cellphone is telephone number (817)

707-5423. A law enforcement database lists the user of this telephone number as Carlos J. GARZA.

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GARZA lists an address in Fort Worth, Texas. Case agents conducted telephone toll analysis of

(817) 707-5423. Initial overlaps were identified between WOODS and telephone number (817)

707-5423. Specifically, in addition to contact with each other, both WOODS and the user of (817)

707-5423 were in frequent contact with telephone number (414) 336-9608, which is listed in a law

enforcement database to Kenneth BEVERLY. BEVERLY was previously identified as the owner

of the 2017 Chevrolet Suburban observed at 915 N. 24th Street in late November (detailed in

paragraph 13). Based on all the aforementioned facts, case agents believe that GARZA may be

associated with “CORTO,” the alleged Texas-based SOS to WOODS.

       19.     Another frequent contact of WOODS is telephone number (414) 574-6421.

Through a law enforcement database, this telephone number lists to a Darius JARRETT.

JARRETT was the subject of an anonymous drug tip submitted to the DEA Milwaukee District

Office. In the drug tip, JARRETT was identified as a large-scale cocaine and Fentanyl distributor,

who utilizes telephone number (414) 574-6421 and (262) 765-1263. The drug tip also stated that

JARRETT utilizes a blue Dodge Durango with Ohio registration JDE9086, a vehicle previously

identified by case agents during surveillance (detailed in paragraph 13).

       20.     Case agents continued to examine social media databases and identified a male who

appeared in several Facebook photographs with WOODS and others. The male appeared to be an

older black male with a black and grey beard and wore designer sunglasses. Utilizing a law

enforcement database, case agents tentatively identified this individual as Dante MCDONALD.

The CS was shown a Wisconsin DOT photograph of MCDONALD (without identifiers), who the

CS positively identified as “BUNK.” Case agents later identified telephone number (414) 573-

7220 as a frequent contact of WOODS. In a law enforcement database, this number listed to a

Dante MCDONALD of 915 N. 24th Street Apt. 11, Milwaukee, Wisconsin.



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       21.     On December 6, 2023, case agents conducted surveillance of 915 N. 24th Street. At

this time, case agents observed a black Chevrolet Tahoe with Texas temporary registration of

4317D85. The vehicle (hereinafter the Tahoe) was registered to Kevie Timmons, 3516 Grandy

Street, Fort Worth, Texas, on a black 2021 Chevrolet Tahoe, VIN: 1GNSCNKD6MR249473. The

dealer details for the Tahoe listed Gerald’s Auto Sales Inc., 4416 S. Freeway, Fort Worth, Texas.

Case agents observed a male exit the Tahoe. The unknown male carried a bag toward the south-

side entrance to 915 N. 24th Street. Case agents observed two occupants (driver and front seat

passenger) in the Tahoe at this time. Minutes later, the Tahoe departed the area driving past the

case agents’ fixed location. At this time, the driver was positively identified as WOODS, and the

front passenger was identified as MCDONALD.

       22.     Case agents queried the temporary Texas registration (4317D85) on the Tahoe

through a law enforcement database. On November 8, 2023, at approximately 3:46 p.m. (CST),

the Tahoe was captured on a license plate reader (LPR) traveling north on Interstate 55 in Pemiscot

County, Missouri. Additionally, case agents queried the temporary Texas registration on the 2017

Chevrolet Suburban (referenced in paragraphs 13 and 16), which captured the Suburban on

November 8, 2023 at approximately 4:18 p.m. (CST) traveling north on Interstate 55 in Pemiscot

County, Missouri. Given the Tahoe and the Suburban traveled the same roadway, on the same

date, just thirty (30) minutes apart, members of the WOODS DTO were likely caravanning from

Texas to the Milwaukee, Wisconsin region.

       23.     On December 8, 2023, the Honorable Stephen C. Dries, U.S. Magistrate Judge,

Eastern District of Wisconsin authorized a Pen Trap and Trace and search warrant for GPS

precision location information (pings) on WOODS’s cellphone. On this same date, case agents

learned that WOODS’s cellphone was in the Fort Worth, Texas area. The cellphone remained in



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the general area of Fort Worth and Dallas, Texas over the next several days. During this time,

WOODS was in frequent contact with MCDONALD, GARZA, and JARRETT.

        24.     On December 12, 2023, case agents monitored the location of WOODS’s

cellphone, and throughout the day, the cellphone appeared to be near three (3) municipal airports

in the Fort Worth, Texas and Dallas, Texas regions. At approximately 10:34 a.m., WOODS’s

cellphone was near the Hicks Airfield, located at 100 Aviator Dr., Fort Worth, Texas. WOODS’s

cellphone remained in that general area until approximately 12:19 p.m. At approximately 10:18

a.m., WOODS received an in-coming call from telephone number (817) 707-5423, believed to be

used by GARZA.

        25.     At approximately 3:03 p.m., WOODS’S cellphone appeared to be in close

proximity to the Perot Field Fort Worth Alliance Airport, located at 13901 Aviator Way, Fort

Worth, Texas. At approximately 5:19 p.m., WOODS’s cellphone appeared to be near the Dallas

Executive Airport, located at 5303 Challenger Dr., Dallas, Texas. Case agents believe WOODS

and/or his associates drove to the above-referenced airports where they remained at each location

for relatively brief periods.

        26.     On December 14, 2023, case agents again conducted court-authorized monitoring

of the location data for WOODS’s cellphone. At approximately 5:42 a.m., WOODS’s cellphone

was in the area of the Dallas Love Field Airport in Dallas, Texas. At approximately 10:57 a.m.,

WOODS’s cellphone was showing to be around Milwaukee Mitchell International Airport. On the

same date, case agents established surveillance in the Milwaukee, Wisconsin region in anticipation

of WOODS’s return. At approximately 12:32 p.m., WOODS’s cellphone was showing to be

around W. Brown Deer Road and N. Green Bay Road in Brown Deer, Wisconsin. At

approximately 12:34 p.m., case agents observed a black Chevrolet Tahoe (the Tahoe) with Texas

registration TNH-2156 traveling south on N. Deerbrook Trail from W. Brown Deer Road. The

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registration listed to Kevie Timmons 3516 Grandy Street, Fort Worth, Texas on a 2021 Chevrolet

Tahoe, listing the same VIN as described in paragraph 21. The Tahoe turned into The Bevy

Apartments, located at 8600 N. Deerwood Dr., Brown Deer, Wisconsin 53209. At this same time,

WOODS’s cellphone was showing to be around The Bevy Apartments.

       27.     The Tahoe parked directly in front of 8720 N. Deerwood Dr. as the driver exited

the vehicle. The driver stood near the rear hatch of the Tahoe and was positively identified by case

agents as MCDONALD. MCDONALD appeared to be waiting outside the Tahoe. Approximately

fifteen minutes later, a white Mercedes SUV pulled into the same apartment complex, and entered

a parking structure located below 8720 N. Deerwood Dr. The Mercedes displayed Wisconsin

registration ATF-1713, registered to a Shanequa Collins on a 2021 Mercedes GLS. Case agents

observed the Mercedes was occupied by a driver and front passenger. Case agents previously

learned that Collins was the girlfriend of WOODS, and further believed that WOODS and Collins

were the occupants of the Mercedes as it arrived at the apartment complex.

       28.     At approximately 12:56 p.m., case agents observed a black male exit from the main

lobby door of 8720 N. Deerwood Dr. The black male was positively identified by case agents as

WOODS. WOODS was wearing a red/white baseball cap, and red hoodie as he entered the driver

seat of the Tahoe. Case agents could see the Tahoe had a second occupant, who case agents later

determined was MCDONALD.

       29.     Case agents followed WOODS and MCDONALD as they departed in the Tahoe.

As the Tahoe traveled south toward Milwaukee, case agents believed WOODS and MCDONALD

were traveling to 915 N. 24th Street. In anticipation of this event, case agents established

surveillance in the immediate area of 915 N. 24th Street. At approximately 1:32 p.m., case agents

observed the Tahoe arrive and park in front of 915 N. 24th Street. WOODS and MCDONALD

exited the Tahoe and walked toward the south entrance of 915 N. 24th Street. Case agents remained

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in the area, and at approximately 1:57 p.m., WOODS and MCDONALD were observed returning

to the Tahoe from the south side of 915 N. 24th Street. WOODS was rolling a large silver suitcase

on the ground. WOODS placed the silver suitcase into the compartment behind the driver’s seat.

Case agents observed WOODS momentarily struggle as he lifted the silver suitcase, indicating the

suitcase contained something heavy. Case agents terminated surveillance when WOODS and

MCDONALD departed the location in the Tahoe.

       30.     Case agents continued to monitor the movements of WOODS’s cellphone. At

approximately 2:45 p.m., WOODS’s telephone was showing to be around (1164-meter proximity)

of Good Hope Road and N. 48th Street in Milwaukee, Wisconsin. The exact plot (GPS coordinates)

indicated WOODS’s cellphone was at Extra Space Storage, located at 5115 Good Hope Road,

Milwaukee, Wisconsin. Approximately thirty minutes later, WOODS’s cellphone was showing to

be back around the Bevy Apartments in Brown Deer, Wisconsin.

       31.     On December 18, 2023, case agents went to Extra Space Storage (at the above-

referenced location) to serve an administrative subpoena. Case agents requested a list of all

currently rented units, including renters’ names and unit numbers. Case agents subsequently

received a “rent roll” from Extra Space Storage. Case agents identified a renter named “Dante

McDonald,” unit #218, and move-in date of 04/17/2023. Case agents identified two storage units

under the name “Hudson Corey,”, unit #332, move-in date 01/01/2018; and unit #227, move-in

date 03/23/2023. Based on training and experience, case agents are aware that drug traffickers

often use public storage facilities to store drugs and/or drug proceeds in order to conceal and

compartmentalize their illicit activities. Accordingly, case agents believe that after WOODS and

MCDONALD departed from 915 N. 24th Street (an identified drug distribution point for the

WOODS DTO) with the silver suitcase in the Tahoe on December 14 2023, they went to Extra

Space Storage to either store or retrieve contraband or illicit proceeds kept at that storage facility.

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       32.     On December 20, 2023, case agents received a LPR alert on the Tahoe. On this

date, at approximately 4:12 p.m. (CST), the Tahoe was captured traveling north on Interstate 55

in Pemiscot County, Missouri. On December 21, 2023, case agents conducted a spot-check of 915

N. 24th Street. At approximately 10:30 a.m., case agents observed the Tahoe parked directly across

the street from the building. Based on the foregoing information, case agents believe

MCDONALD and/or WOODS are currently using the Tahoe to travel between Milwaukee,

Wisconsin and Texas in furtherance of the WOODS DTO’s illicit activities.

       33.     In early January 2024, case agents spoke to the CS. The CS said WOODS planned

to resume operations after the holiday season. WOODS also told the CS that MCDONALD is

currently overseeing logistics of the WOODS DTO. WOODS explained that MCDONALD,

working on behalf of WOODS and unknown associates, was coordinating drug transportation

routes. WOODS added that MCDONALD would be traveling to Texas at the beginning of January

2024. Case agents confirmed that on January 1, 2024, at approximately 4:18 p.m., the Tahoe was

captured (LPR) traveling south on Interstate 57 near 159th Street in Illinois. Based on this

information, case agents suspect that MCDONALD was driving the Tahoe to Texas on January 1,

2024 to coordinate future drug and/or money transactions on behalf of the WOODS DTO.

       34.     On January 5, 2024, the Honorable William E. Duffin, U.S. Magistrate Judge,

Eastern District of Wisconsin authorized a search warrant for the installation of a GPS tracking

device on the Tahoe (Case No. 24-MJ-8). On January 8, 2024, case agents successfully installed

the GPS tracking device on the Tahoe while the Tahoe was parked in front of 915 N. 24th Street,

Milwaukee, Wisconsin.

       35.     On January 9, 2024, case agents monitored the location of the GPS tracking device

on the Tahoe, which showed it to be around N. Sherman Blvd. and W. Roosevelt Rd. in

Milwaukee, Wisconsin. Case agents established surveillance in the area, and observed the Tahoe

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parked in the driveway of 3817 N. Sherman Blvd., Milwaukee, Wisconsin. Case agents later

observed MCDONALD exit the residence, and then briefly access the Tahoe’s rear passenger

compartment before returning to the residence. Through a law enforcement query, case agents

tentatively identified Renee Crawford as the current occupant of 3817 N. Sherman Blvd. During

toll analysis of (414) 573-7220, the telephone number associated with MCDONALD (detailed in

paragraph 20 above), the top contact for this telephone number was (414) 238-7759. In a law

enforcement database, this telephone is listed to Renee Crawford.

       36.    In mid-January 2024, case agents spoke with the CS. The CS stated in early January

2024, WOODS told the CS that they (i.e., WOODS DTO members) were currently picking up

“two hundred (200) more.” The CS believed that WOODS was referring to the WOODS DTO

obtaining two hundred kilograms of cocaine and/or heroin. The CS further stated that WOODS

was planning to travel to California soon to obtain bulk marijuana from an as-yet-unidentified

source of supply (SOS).

       37.    On January 16, 2024, case agents monitored the GPS tracking device on the Tahoe.

At approximately 3:51 p.m., the Tahoe appeared to be traveling south near 3817 N. Sherman Blvd.

At approximately 7:30 p.m., the Tahoe was showing to be around N. 58th Blvd. and W. Vienna

Ave. Through a law enforcement database, case agents identified 3844 N. 58th Blvd., Milwaukee,

Wisconsin as MCDONALD’s residence in 2018. This residence is within proximity to the above-

described cross streets of N. 58th Blvd. and W. Vienna Ave. in Milwaukee, Wisconsin.

       38.    On January 17, 2024, at approximately 12:59 a.m., case agents received a LPR alert

on the black 2017 Suburban. The black Suburban was captured traveling southbound on I90/I94

near Grand Ave. in Gurnee, Illinois. At this same time, case agents received a LPR alert on the

Tahoe, indicating it was in the same area. Case agents believe MCDONALD and other

unidentified members of the WOODS DTO were operating the black Suburban and Tahoe in

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conjunction as they traveled southbound in Illinois. There were no additional LPR alerts on either

vehicle; however, the GPS tracking device on the Tahoe showed it arriving at Midway

International Airport – located at 5700 S. Cicero Ave. Chicago, Illinois at approximately 7:29 p.m.

       39.     Case agents later spoke with the CS, who stated WOODS was planning to fly to

California to meet with his marijuana source of supply (SOS). WOODS previously told the CS

that members of the WOODS DTO obtain approximately one ton (2000 lbs.) of marijuana at a

time from an as-yet-unidentified California-based marijuana SOS. Case agents were also

monitoring the court-authorized collection of location data from WOODS’s cellphone. On January

17, 2024, at approximately 10:50 a.m., WOODS’s cellphone was showing to be around the Dallas

Love Field airport - located at 8008 Herb Kelleher Way Dallas, Texas. At approximately 3:33

p.m., WOODS’s cellphone was showing to be around the Sacramento International Airport –

located at 6900 Airport Blvd., North Natomas, California.

       40.     On this same date, WOODS’s cellphone was in contact with telephone number

(530) 965-7017 on five (5) occasions. The subscriber of telephone number (530) 965-7017 is Kyle

Anthony Silvalarva of 14121 Temple Cir., Magalia, CA. SILVALARVA has a prior conviction

for Transport/Sell Narcotic/Controlled Substance. In addition, WOODS’s cellphone was in contact

with MCDONALD’s telephone – (414) 573-7220 on three (3) occasions on this same date.

       41.     On January 22, 2024, at approximately 1:40 p.m., case agents conducted a spot-

check surveillance of 3844 N. 58th Blvd., Milwaukee, Wisconsin. At this time, case agents

observed the black 2017 Chevrolet Suburban parked directly in front of 3844 N. 58th Blvd. Case

agents observed a black male walk across the yard of 3844 N. 58th Blvd. and enter the front

passenger seat of the black Suburban. Case agents followed the black Suburban to 3817 N.

Sherman Blvd., where the black Suburban entered the driveway of the property. At this time, case



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agents identified MCDONALD as the driver and Decerdric DAVIDSON as the passenger of the

black Suburban.

       42.     While at 3817 N. Sherman Blvd., case agents observed MCDONALD remove a

large black garbage bag from the black Suburban’s cargo area.             Case agents observed

MCDONALD carry the black garbage bag inside 3817 N. Sherman Blvd. Moments later, case

agents observed MCDONALD removed a large grey suitcase from the Suburban’s cargo area and

carry the large grey suitcase inside 3817 N. Sherman Blvd. as well. Case agents later determined

that DAVIDSON currently resides at 3844 N. 58th Blvd., Milwaukee, Wisconsin.

       43.     On January 25, 2024, case agents conducted surveillance of MCDONALD and

DAVIDSON as they traveled to a car dealership in Burlington, Wisconsin prior to MCDONALD

picking up WOODS at Mitchell International Airport. At approximately 2:00 p.m., the court-

authorized GPS vehicle tracking device on the Tahoe showed it traveling southwest from

Milwaukee to Burlington, Wisconsin. The Tahoe eventually arrived at the Lynch Chevrolet GMC

dealership, located at 2300 Browns Lake Dr., Burlington, Wisconsin. At approximately 3:18 p.m.,

case agents established physical surveillance in the area, and located the Tahoe parked at the car

dealership. Case agents observed a black Cadillac Escalade with Texas registration RMF-8158

also parked at the same car dealership. The Escalade was registered to a Shaunterria Crampton of

Arlington, Texas. Based on preliminary investigation, case agents believe Crampton is WOODS’s

daughter.

       44.     Case agents observed a black male, strongly resembling DAVIDSON, exit from the

passenger side of the Tahoe, and enter the driver’s compartment of the Escalade. Moments later,

the Tahoe departed the lot, followed by the Escalade. The two vehicles traveled east towards

Milwaukee. Case agents eventually lost visual on the vehicles due to inclement weather.



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       45.     Earlier the same day, case agents learned that WOODS’s cellphone was showing

to be around the Dallas Love Field Airport (DAL). Case agents identified a possible flight from

DAL to Milwaukee’s Mitchell International Airport (MKE), scheduled to arrive at MKE around

4:30 p.m. Case agents monitored the court-authorized GPS tracking device on the Tahoe, which

showed it traveling towards MKE at approximately 4:30 p.m. Case agents established surveillance

and located the Tahoe as it parked at the arrivals pick up lane at MKE. The Tahoe’s driver exited

and case agents positively identified the driver as MCDONALD. Additional case agents entered

the concourse in an undercover capacity and observed WOODS exiting from a recently arrived

flight. Case agents observed WOODS enter the Tahoe’s driver’s seat and depart the area.

       46.     On February 5, 2024, case agents conducted surveillance of MCDONALD and

DAVIDSON as they traveled throughout Milwaukee in the Tahoe. Upon departing 3844 N. 58th

Street, case agents followed MCDONALD and DAVIDSON in the Tahoe as they arrived at 3817

N. Sherman Blvd. While in the driveway of 3817 N. Sherman Blvd., MCDONALD removed a

large suitcase from the compartment behind the driver’s seat. MCDONALD carried the large

suitcase into the residence after unlocking the front door.

       47.     Minutes later, DAVIDSON departed in the Tahoe, leaving MCDONALD at 3817

N. Sherman Blvd. Case agents continued to monitor the GPS tracking device on the Tahoe and

observed it traveling south on Interstate 43 toward Illinois. Over the next two days, the Tahoe

traveled in a southwest direction, eventually arriving in the Dallas/Fort Worth, Texas region in the

afternoon of February 6, 2024. While in the Fort Worth region, the Tahoe consistently remained

around 1820 Lavin Plaza, Haslet, Texas. Case agents previously learned through a law

enforcement database that 1820 Lavin Plaza lists DAVIDSON and MCDONALD as recent

residents. WOODS is also listed as a previous resident of 1820 Lavin Plaza. Based on this

information, case agents believe DAVIDSON drove the Tahoe to Texas, and is currently staying

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at a residence associated with the WOODS DTO. Case agents further believe DAVIDSON, under

the direction of MCDONALD and WOODS, is currently in Texas awaiting a shipment of narcotics

that will be transported to the Milwaukee, Wisconsin region soon.

                                TECHNICAL BACKGROUND

       48.     Case agents are requesting the court order for a 45-day extension on the GPS

tracking device currently on the black 2021 Chevrolet Tahoe bearing Texas license plate

TNH2156, vehicle identification number (VIN) 1GNSCNKD6MR249473 (the Tahoe), registered

to Kevie Timmons, 3516 Grandy Street, Fort Worth, Texas, be granted. I believe the continued

use of a GPS tracking device on the Tahoe will obtain valuable information that could be used as

evidence for the possible crimes of distribution and possession with intent to distribute controlled

substances, and conspiracy to distribute and possess with the intent to distribute controlled

substances, violations of Title 18 United States Code Section 920(o) and Title 21, United States

Code, Sections 841 and 846.

       49.      Law enforcement have observed WOODS and MCDONALD using the Tahoe in

mid-December 2023 and throughout January 2024. Case agents have also observed the Tahoe

parked on multiple occasions in front of 915 N. 24th Street, Milwaukee, Wisconsin and 3817 N.

Sherman Blvd., Milwaukee, Wisconsin, which are residences associated with MCDONALD. Law

enforcement believes, based on the foregoing, that the Tahoe is presently within the Eastern

District of Wisconsin.

       50.      In order to track the movement of the Tahoe effectively and to decrease the chance

of detection, law enforcement seeks authorization to place a tracking device on the Tahoe while it

is in the Eastern District of Wisconsin. Because WOODS is associated with an apartment complex

(i.e., 8720 N. Deerwood Dr., Brown Deer, Wisconsin 53209) that has a communal underground

parking structure, it may be necessary to enter onto private property (specifically the underground

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parking area for 8720 N. Deerwood Dr., Brown Deer, Wisconsin 53209) and/or move the Tahoe

to affect the installation, repair, replacement, and removal of the tracking device.

        51.      To ensure the safety of the executing officers and to avoid premature disclosure of

the investigation, it is requested that the court authorize installation, maintenance, and removal of

the tracking device during both daytime and nighttime hours. I know through training and

experience that DTO suppliers are often surveillance conscious and possess weapons. Law

enforcement also requests delayed notice of this warrant for the same reasons. Finally, law

enforcement requests permission to enter the Tahoe in order to install the device contemplated

here. Law enforcement will not enter the Tahoe to install the device unless such entry is ultimately

required to effect installation.

        52.      In the event the Court grants this application, there will be periodic monitoring of

the tracking device during both daytime and nighttime hours for a period not to exceed 45 days

following issuance of the warrant. The tracking device may produce signals from inside private

garages or other such locations not open to the public or visual surveillance.


                                          CONCLUSION

        53.      Based on the foregoing, I request that the Court issue the proposed extension of

the search warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 3117, that

authorizes law enforcement, including but not limited to your affiant and technicians assisting in

the above-described investigation, to continue monitoring/installation of tracking device currently

installed on the Tahoe within the Eastern District of Wisconsin within 10 days of the issuance of

the proposed warrant; to maintain, repair, and/or replace the tracking device as necessary, and to

remove the tracking device from the Tahoe after the use of the tracking device has ended: to install,

maintain, and remove the tracking device during both daytime and nighttime hours; to



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surreptitiously enter the underground parking area for 8720 N. Deerwood Dr., Brown Deer,

Wisconsin 53209 and/or move the Tahoe to effect the installation, repair, replacement, and

removal of the tracking device; and to monitor the tracking device for a period of 45 days following

the issuance of the warrant, including when the tracking device is inside private garages and other

locations not open to the public or visual surveillance, both within and outside the Eastern District

of Wisconsin.

       54.      In accordance with 18 U.S.C. § 3103a(b) and Federal Rule of Criminal Procedure

41(f)(3), I further request that the warrant delay notification of the execution of the warrant until

after the end of the authorized period of tracking (including any extensions thereof) because there

is reasonable cause to believe that providing immediate notification may have an adverse result,

as defined in 18 U.S.C. § 2705. Providing immediate notice would seriously jeopardize the

ongoing investigation by prematurely revealing its existence and giving suspects an opportunity

to flee from prosecution, destroy or tamper with evidence, intimidate potential witnesses, notify

confederates, and change patterns of behavior.




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